            Case 5:16-cr-50056-TLB
AO 2458 (Rev. 11 16)
                  Judgment in a C1i111inal Case Document 27              Filed 06/08/17 Page 1 of 7 PageID #: 138
                       Sheet I



                                        UNITED STATES DISTRICT COURT
                                                          Western District of Arkansas
                                                                        )
              UNITED STATES OF AMERICA                                  )     JUDGMENT IN A CRIMINAL CASE
                                   v.                                   )
                                                                        )
                                                                        )     Case Number:          5: 16CR50056-001
                       EDWARD GARCIA                                    )     USM Number:           14461-010
                                                                        )
                                                                        )     Joe Alfaro
                                                                        )     Defe ndant 's Allomcy
THE DEFENDANT:
~pl eaded guilty to count(s)        One ( I) of the Indictment on February 2, 20 17.

D pleaded nolo contendere to count(s)
    which was accepted by the co urt.
D was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count
2 1 U.S.C. ~ 84l(a)( l )          Possession with Intent to Distribute Methamphetamine                      10/30/20 16                 1




       The defendant is sentenced as provided in pages 2 through         _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reforn1 Act of 1984.
D The defendant has been fo und not guilty on count(s)
D Count(s) - - - - - - - - - - - - - 0                       is   0   are dismissed on the motion of the United tates.

          It is ordered that the defendant must noti fy the United States attorney fo r this district within 30 days of any change of name,
residence, or mailing address until a ll fines , restitution, costs, and spec ial assessments imposed by this judgment are full y paid. If ordered to
pay restitution, the defendant must noti fy the court and United States attorne y of material changes in economic circumstances.

                                                                        June7, 20 17




                                                                        Honorable Timoth L. Brooks, United States District Judoe
                                                                        Na me and Title of Judge




                                                                        0
                                                                            J   c1Af..      Z, io 11
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                       Sheet 2 - Imprisonment

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                                                              IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:      one hundred twenty (120) months.




    ~ The court makes the following recommendations to the Bureau of Prisons:
          The defendant be placed in the facility in El Reno, Oklahoma.
          The defendant be allowed to participate in RDAP.




    ~ The defendant is remanded to the custody of the United States Marshal.

    0     The defendant shall surrender to the United States Marshal for this district:

          0     at                                 0   a.m.    op.m.         on

          0     as notified by the United States Marshal.

     0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                           to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
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                         Sheet 3 -    upc1vised Release

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 CAS E NUMB ER:                  5: l 6CR50056-00 I

                                                              SUPERVISED RELEASE
 Upon re lease from imprisonm ent, yo u will be on supervised release fo r a term of :    three 3     ears.



                                                            MANDATORY CONDITIONS

 1.    You must not co mmit another federa l, state or local crime.
 2.    You must not unlawfull y possess a contro lled substance.
 3.    You must refra in from any unl awful use ofa controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as detem1ined by the court.
                0   The above drug testing condition is suspended, based on the court's determination that yo u
                    pose a low risk of future substance abuse. (check if applicable)
 4.      l:8JYou must cooperate in the co llection of D A as directed by the probation officer. (check if applicable)
 5.      0   You must compl y with the requirements of the Sex Offender Registration and otification Act (42 U.S.C. § 1690 1, et seq.) as
             directed by the probation offi cer, the Bureau of Prison , or any state sex offender registration agency in the location where yo u
             res ide, work, are a student, or were convicted of a quali fy ing offense. (check if applicable)
 6.      0   You must participate in an approved progra m fo r domestic vio lence. (check if applicable)



 You must compl y with the standard conditions that have been adopted by thi s court as well as with any other conditions on the attac hed
 page.
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                        Sheet 3A - Supervised Release

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                                      ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, yo u must comply with the fo llowing standard conditions of supervision. These conditions are imposed
because they establi sh the basic expec tations for yo ur behavior while on supervision and identify the minimum too ls needed by probation
offi cers to keep informed , report to the court about, and bring about improvements in yo ur conduct and condition.

 I.   You must report to the proba tion office in the federal judicial district where yo u are authorized to res ide within 72 hours of yo ur
      re lease from imprisonment, unless the pro bation officer instructs yo u to report to a different probation offi ce or within a different
      time frame.
2. After initially reporting to the probation office, you will receive instructi ons from the court or the probation offi cer about how and
     when yo u must report to the pro bation officer, and yo u must report to the probation offi cer as instructed.
3.   You must not knowing ly leave the federal judicial district where yo u are authorized to reside without first getting permission from
     the court or the probation offi cer.
4 . You must answer truthfull y the questions as ked by your probation officer.
5.   You must live at a place approved by the probation offi cer. If yo u plan to change where yo u live or anything about yo ur li ving
     arrangements (such as the people yo u li ve with), yo u must noti fy the probation officer at least I 0 days before the change. If notifying
     the probation officer in advance is not possible due to unantic ipated circumstances, you must notify the probati on officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit yo u at any time at yo ur home or elsewhere, and you mu t permit the pro bation officer to
     take any items prohibited by the conditions of yo ur supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses yo u from
     do ing so. If yo u do not have full -time employment yo u must try to find full-time employment, unless the probation officer excuses
     yo u fro m do ing so. If yo u plan to change where yo u work or anything about yo ur work (such as your position or yo ur j ob
     responsibilities) , yo u must notify the probation officer at least I0 days before the change. If notifying the probation offi cer at least I0
     days in advance is not possibl e due to unanticipated circumstances, yo u must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone yo u know is engaged in criminal activity. If yo u know someone has been
     convicted of a fe lony, yo u mu st not knowing ly communicate or interact with that person without first getting the permission of the
     probation officer.
9.   If yo u are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, ammunition, destructi ve device, or dangerous weapon (i .e., anything that
     was designed , or was modified for, the spec ific purpose of causing bodil y injury or death to another person such as nunchakus or
     tasers) .
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infomiant without
     first getting the permi ssion of the court.
12. ff the probation officer determines that yo u pose a risk to another person (includ ing an organization), the probation officer may
     require yo u to notify the person about the risk and yo u must compl y with that instruction. The probation offi cer may contact the
     person and confirrn that yo u have notified the person about the risk.
13. You must fo llow the instructio ns of the probation officer re lated to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditi ons spec ifi ed by the co urt and has provided me with a written copy of thi s
judgment contain ing these conditions. For further information regarding these conditions, see Overview of Probation and Supe111ised
Release Co nditions, available at: www. uscourts.gov.


Defendant's Signature                                                                                      Date
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                         Sheet 30 - Supe1vi sed Release

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                                      SPECIAL CONDITIONS OF SUPERVISION

   I.   The defendant shall submi t to inpatient or outpatient substance abuse testing, eva luation, counseling and/or treatment, as may be
        deemed necessary and as directed by the U.S . Probation Offi ce.

  2.    The defenda nt shall submit his person, residence, place of employment, and vehicle to a search to be conducted by the U.S.
        Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion that evidence of any violation of
        a condi tion of supervi sed re lease might thereby be disclosed.
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                           Sheet S - C1iminal Monetaiy Penalti es

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                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total crimina l monetary pena lties under the sc hedu le of payments on Sheet 6.

                           Assessment                  JVT A Assessment~'                   Fine                        Restitution
 TOTALS                  $ 100.00                    $ 0.00                               $ 2,400.00                  $ 0.00


D      The detem1ination o f res titu tion is deferred until
                                                             -----
                                                                   . An Amended Judgment in a Criminal Case (A O 245CJ will be entered
       after such determination.

D      The defendant must make restitution (inc luding co mmuni ty restitution) to the fo llowing payees in the amount listed below.

       If the defendant makes a parti al payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment co lumn below. However, pursuant to 18 U.S .C. § 3664( i), all nonfederal victims must be pa id
       before the United States is paid.

 Na me of Payee                                                                             Restitution Ordered                       Priority or Percentage




 TOTALS
D      Restitution amo unt ordered pursuant to plea agreement

D      The defendant must pay interest on restitution and a fine of more than 2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(f). All of the payment options on Sheet 6 ma y be subj ect
       to penalties for delinquency and default, pursuant to 18 U.S .C. § 36 I 2(g) .

l:2J   The court dete1mined that the defendant does not ha ve the ability to pay interest and it is ordered that:

       [2'.I   the intere t requirement is wa ived for the          [2'.I   fine   D   restituti on.

       D  the interest requirement fo r the            D
                                                     fin e             D
                                                                 restitution is modified as fo llows:
* Justice fo r Victims of Trafficking Act of20 15, Pub . L. No. 114-22 .
** Findings fo r the total amount of losses are req uired under Chapters I 09A, I I 0, 11 OA, and I I 3A of Title 18 for offenses comm itted on or
after September 13, 1994 , but before Ap ril 23, 1996.
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                          Sheet 6 -   Schedule o f Payments

                                                                                                                      Judgment -   Page     7     of            7
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant ' s ability to pay, payment of the tota l crimina l monetary penalties is due as fo llows:

  A      ~ Lump sum payment of                   2,500.00              due immediately, ba lance due

               D      not later than                                        , or
               [8J    in accordance with D            C,      D   D,    D      E, or   l:8J   F below; or

  B      D     Payment to begin immediately (may be combined with                  D e,          DD, or       D   F below); or

  C      D     Payment in equal                            (e.g.. weekly. monthly. quarterly) installments of $                             over a period of
                                (e.g .. months or years), to commence                         (e.g.. 30 or 60 day) after the date of thi s judgment; or

  D      D     Payment in equal                            (e.g .. weekly. monthly. quarterly) installments of $                            over a period o f
                                (e.g .. mom/is or years), to commence                          (e.g .. 30 or 60 days) after release from impri sonment to a
               term of supervision; or

  E      D     Payment during the term of supervi sed release will commence within                (e.g .. 30 or 60 days) after release fro m
               imprisonment. The court will set the payment plan based on an assessment of the defendant 's ability to pay at that time; or

  F      [8J   Special in tructions regarding the payment of criminal monetary penalti es:
               If not paid immediate ly, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of
               up to 50% of the defendant's ava ilable fund s, in accordance with the Inmate Financial Responsibility Progra m. During residential
               reentry placement, payments shall be 10% o f the defendant's gross monthl y income. The payment of an y remaining balance shall
               become a condition of supervised release and shall be paid in monthly insta llments of $7 5.00 or 15% of the defe ndant's net
               monthly household income, with the entire balance to be paid in full not later than one month prior to the end of the period of
               supervised release.

  Unless the court has express ly ordered otherwise, if thi s judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made thro ugh the Federa l Bureau of Prisons '
  Inmate Financial Responsibili ty Progra m, are made to the clerk of the court.

  The defendant sha ll receive credit fo r a ll payments previo usly made toward any criminal monetary penalties imposed.



  D     Joint and Severa l

        Defendant and Co-Defendant Names and Case                  umbers (including def enda1111111mbe1), Total Amount, Joint and Several Amo unt,
        and corresponding payee, if appropriate.




  D     The defendant shall pay the cost of prosec ution.

  D     The defendant shall pay the fo llowing court cost(s):

  D     T he defendant shall fo rfe it the defendant's interest in the fo ll owing property to the United States:

        Payments sha ll be applied in the fo ll owing order: ( I) assessment, (2) restitution princ ipal, (3) restitution interest, (4) fine principal, (5)
        fine interest, (6) community resti tuti on, (7) NT A assessment, (8) penalties, and (9) costs, inc luding cost of prosec uti on and court costs.
